                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF VERMONT



    AMERICAN CABLE ASSOCIATION,
    CTIA – THE WIRELESS ASSOCIATION,
    NCTA – THE INTERNET & TELEVISION
    ASSOCIATION, NEW ENGLAND CABLE
    & TELECOMMUNICATIONS
    ASSOCIATION, and USTELECOM – THE
    BROADBAND ASSOCIATION, on behalf of                  Case No. 2:18-cv-00167-CR
    their members,

                                Plaintiffs,

                  v.

    PHILIP B. SCOTT, in his official capacity as
    the Governor of Vermont; SUSANNE R.
    YOUNG, in her official capacity as the
    Secretary of Administration; JOHN J. QUINN
    III, in his official capacity as the Secretary and
    Chief Information Officer of the Vermont
    Agency of Digital Services; and JUNE E.
    TIERNEY, in her official capacity as the
    Commissioner of the Vermont Department of
    Public Service

                                Defendants.


             STIPULATION REGARDING TEMPORARY STAY OF LITIGATION

          Plaintiffs the American Cable Association (now known as ACA Connects – America’s

Communications Association), 1 CTIA – The Wireless Association, NCTA – The Internet &

Television Association, New England Cable & Telecommunications Association, and

USTelecom – The Broadband Association (collectively, “Plaintiffs”), and Defendants Philip B.




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  On March 20, 2019, after this case was initiated, plaintiff American Cable Association changed
its name to ACA Connects – America’s Communications Association.
Scott, Susanne R. Young, John J. Quinn III, and June E. Tierney in their official capacities

(“Defendants,” and collectively with Plaintiffs, the “Parties”), by and through their respective

counsel, hereby stipulate and agree as follows:

       WHEREAS, based upon a stipulation filed by the parties, the Court entered an Order

regarding Temporary Stay of Litigation and Injunction Barring Enforcement of Executive Order

No. 2-18 and Act 169 that by its terms was to continue until the Ninth Circuit resolved the

pending appeal in in ACA Connects, et al. v. Becerra, No. 21-15430 (9th Cir.) or April 15, 2022,

whichever occurs first.

       WHEREAS, the Ninth Circuit appeal was from a District Court ruling declining to

enjoin net neutrality requirements imposed by California.

       WHEREAS, the Ninth Circuit affirmed the District Court ruling on January 28, 2022,

ACA Connects v. Bonta, 24 F.4th 1233 (9th Cir. 2022) and the Plaintiffs filed a petition for

rehearing en banc, which is still pending.

       WHEREAS, while the California litigation was ongoing, the United States District Court

for the Eastern District of New York enjoined enforcement of the New York Affordable

Broadband Act and that ruling was appealed to the Second Circuit.

       WHEREAS, New York State Telecomm. Ass’n v. James, No. 21–1975 (2d Cir.) is fully

briefed, but has not yet been resolved by the Second Circuit, and the scope and conduct of this

action could be significantly shaped by the Second Circuit’s resolution of that appeal.

       WHEREAS, the Parties wish to avoid a waste of judicial and party resources and believe

this action should be stayed until the Second Circuit has issued a ruling in the James appeal.




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          WHEREAS, this Court has authority under Landis v. North American Co., 299 U.S. 248

(1936), to enter a stay of proceedings as part of its power to control its own docket and is

empowered to enter a stay of proceedings based on the circumstances here.

          NOW THEREFORE, in consideration of the foregoing, the Parties further stipulate and

agree as follows:

         1.     Further proceedings in this action shall be stayed until the Second Circuit has

resolved the pending appeal in New York State Telecomm. Ass’n v. James, No. 21–1975 (2d

Cir.).

         2.     The injunction entered by the Court on December 17, 2021, will expire on April

15, 2022.

         3.     Plaintiffs shall not seek attorneys’ fees based on time spent litigating this action

prior to the dissolution of the stay in accordance with this stipulation.

         4.     This stipulation shall not be construed as bearing on the merits of the action, be

considered precedent in this or any other matter, or be considered in the adjudication of any

dispositive motions.




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Dated: April 15, 2022

/s/ David A. Boyd                                 /s/ David M. Pocius
David A. Boyd                                     David M. Pocius
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Susanne R. Young                                  Association f/k/a American Cable
                                                  Association, CTIA – The Wireless
                                                  Association, NCTA – The Internet &
                                                  Television Association, New England Cable
                                                  & Telecommunications Association, and
                                                  USTelecom – The Broadband Association




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